                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                            5:09CV8-02-V
                            (5:05CR32-V)


JASON VANCE PLEMMONS,         )
     Petitioner,              )
                              )
          v.                  )              O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon Petitioner’s Motion

under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence,

filed August 29, 2008, amended February 20, 2009 (document # 1).

For the reasons stated herein, Petitioner’s Motion will be dis-

missed as time-barred.

              I.   FACTUAL AND PROCEDURAL BACKGROUND

     According to the record of Petitioner’s underlying criminal

case, on April 5, 2005, he was charged (along with four other

individuals) with conspiracy to manufacture and possess with

intent to distribute a mixture of 500 grams or more of methamphe-

tamine, in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846 (Count

One); he was charged with possession of two of the chemicals used

to manufacture methamphetamine and aiding and abetting that of-

fense, in violation of 21 U.S.C. § 841(c) and 18 U.S.C. § 2

(Count Three); and he was charged with using and carrying a fire-

arm during and in relation to a drug trafficking crime and



  Case 5:05-cr-00032-RLV-CH   Document 175   Filed 03/16/09   Page 1 of 10
possessing that firearm in furtherance of such drug trafficking

crime, and aiding and abetting that offense, all in violation of

18 U.S.C. §§ 924(c) and 2 (Count Four).        (Case No. 5:05CR32-1,

document # 1).   After being arraigned on the subject charges,

Petitioner entered “not guilty” pleas and requested a jury trial.

     On May 2, 2006, the Government filed a Notice pursuant to 21

U.S.C. § 851 advising that Petitioner previously had sustained a

felony drug conviction. (Case No. 5:05CR32-1, document # 98).

Consequently, the Government announced that in the event Peti-

tioner were convicted on either of the two pending drug charges,

it would seek an enhanced sentence for him.

     On May 10, 2006, Petitioner’s jury trial was commenced.             On

May 11, 2006, Petitioner made two oral Motions for Acquittal,

however each was denied by the Court.        Thereafter, the jury

returned a verdict of “guilty” on all three of the charges Peti-

tioner was facing, and further determined that Count One had in-

volved 500 grams or more of a mixture of methamphetamine.             (Case

No. 5:05CR32-1, document # 107, filed May 11, 2006).

     On January 16, 2007, the Court conducted Petitioner’s Sen-

tencing Hearing on which occasion it was determined that his

Offense Level was 35, his Criminal History Category was II, his

recommended range of imprisonment under the Sentencing Guidelines

was 188 to 235 months for Counts One and Three, and his statutory

mandatory minimum sentence for Count Four was a consecutive term


                                   2


  Case 5:05-cr-00032-RLV-CH   Document 175   Filed 03/16/09   Page 2 of 10
of 60 months imprisonment.     (Case No. 5:05CR32-1, document # 134:

Statement of Reasons).    After hearing from counsel for the par-

ties, the Court sentenced Petitioner to combined term of 188

months imprisonment on Counts One and Three and to a consecutive

term of 60 months on Count Four, for a total of 248 months impri-

sonment.   (Case No. 5:05CR32-1, document # 133: Judgment in a

Criminal Case).   The Court’s Judgment was filed on January 29,

2007.

     Petitioner did not directly appeal either his convictions or

sentences.   Rather, on May 27, 2008, Petitioner filed a letter

reporting that he repeatedly had asked his attorney to file an

appeal and counsel twice promised to honor those requests.             (Case

No. 5:05CR32-1, document # 166).       However, the letter further

reported that Petitioner never received any information from

counsel concerning the status or result of that appeal, and that

Petitioner also was unsuccessful in his numerous attempts to make

contact with his former attorney.

     Then, on August 29, 2008, Petitioner filed a document cap-

tioned as a “Motion To File Notice Of Appeal Out Of Time As A

Result Of Ineffective Assistance Of Counsel And Excusable Neg-

lect.”   (Case No. 5:05CR32-1, document # 167).        Petitioner’s

Motion reiterated his claims that he advised his attorney of his

desire for an appeal on more than one occasion; that counsel

assured Petitioner that he would file the appeal; and that during


                                   3


  Case 5:05-cr-00032-RLV-CH   Document 175   Filed 03/16/09   Page 3 of 10
the months following his sentencing, he “regularly correspond[ed]

with his attorney asking for updates and status reports and

general assurance of his attorney’s strategies,” but never got

any response.   The Motion further asserted, in part, Petitioner’s

reported beliefs that his appeal was progressing during that

time, and had no reason to feel that there was anything wrong;

and that it was not until he secured a copy of his docket sheet

that he learned that counsel had not appealed his case.            As a

result, Petitioner’s Motion asked the Court to find “excusable

neglect” and allow him to file an out-of-time appeal on the basis

of either his attorney’s misrepresentations concerning his

intention to appeal the case, or because his attorney allegedly

refused to file the subject appeal in the first place.

     In the alternative, Petitioner’s Motion asked the Court to

construe that document as a motion to vacate under 28 U.S.C. §

2255 based upon counsel’s alleged failure to honor his request

for a direct appeal.    Although Petitioner recognized that his

motion to vacate might be construed as untimely filed, he asked

the Court to find that he had exercised due diligence in disco-

vering counsel’s deception and, presumably, to conclude that such

motion to vacate was filed within one year of his discovery of

the basis for such motion.

     Consequently, on January 23, 2009, the undersigned entered

an Order granting Petitioner’s request that his Motion for


                                   4


  Case 5:05-cr-00032-RLV-CH   Document 175   Filed 03/16/09   Page 4 of 10
Extension of Time be construed as a motion to vacate under §

2255, and giving Petitioner additional time to file a document

explaining why his motion should be construed as timely filed.

(Case No. 5:05CR32-1, document # 172).       The Clerk of Court then

filed Petitioner’s motion to vacate under civil number 5:09CV8

(document # 1).

     On February 20, 2009, Petitioner filed amendments to his

motion to vacate in the form of a Supplement and a form-Motion to

Vacate.   By those amendments, Petitioner presses his claim that

counsel was ineffective due to his alleged failure to honor

Petitioner’s request for an appeal.      In support of his claim,

Petitioner continues his assertions that he told counsel that he

wanted an appeal; and that following Petitioner’s sentencing

hearing, counsel promised to file an appeal on more than one

occasion.

     However, unlike Petitioner’s earlier assertions -- that his

numerous attempts to correspond with his attorney were ignored --

the instant amendments now report that Petitioner also made

“calls to his attorney. . . ,” and those calls “reinforced [Peti-

tioner’s] belief that indeed the appeal was being filed on his

behalf . . . .”   Therefore, Petitioner claims he “had no reason

to believe that his attorney had abandoned him and [] no reason

to file the instant petition, at least not until he discovered

the abandonment alleged herein.”


                                   5


  Case 5:05-cr-00032-RLV-CH   Document 175   Filed 03/16/09   Page 5 of 10
     In any case, Petitioner asserts this Court should vacate and

re-enter its Judgment so that he timely can appeal his criminal

case to the Fourth Circuit Court of Appeals.           Notwithstanding

whether or not Petitioner’s claim has any merit, it is apparent

to this Court that the instant Motion to Vacate is time-barred.

                              II.   ANALYSIS

     At the outset of its analysis, this Court notes that Rule

4(b) of the Rules Governing Section 2255 Proceedings directs,

sentencing courts promptly to examine motions to vacate in order

to determine whether the petitioner is entitled to any relief on

the claims set forth therein.       When it plainly appears from the

motion, any attached exhibits, and the record of prior proceed-

ings that a petitioner is not entitled to relief, a court must

dismiss the motion.

     As was noted on Petitioner’s form-Motion to Vacate, in 1996

Congress enacted the Antiterrorism and Effective Death Penalty

Act (hereafter, the “AEDPA”).       Among other things, the AEDPA

amended 28 U.S.C. §2255 by imposing a 1-year statute of limita-

tions period for the filing of a motion to vacate.              The amendment

provides:

     A 1-year period of limitation applies to a motion under this

section.    The limitation period shall run from the latest of–

     (1) the date on which the judgment of conviction
     becomes final;

     (2) the date on which the impediment to making a motion

                                     6


  Case 5:05-cr-00032-RLV-CH   Document 175     Filed 03/16/09   Page 6 of 10
     created by governmental action in violation of the
     Constitution or laws of the United States is removed,
     if the movant was prevented from making a motion by
     such governmental action;

     (3) the date on which the right asserted was initially
     recognized by the Supreme Court and made retroactively
     applicable to cases on collateral review; or

     (4) the date on which the facts supporting the claim or
     claims presented could have been discovered through the
     exercise of due diligence.

     As this Court’s Order of January 23, 2009 advised Peti-

tioner, his convictions for the drug and firearm offenses became

final on January 29, 2007, that is, when the Court filed its

Judgment.   Thus, Petitioner had up to January 29, 2008, in which

to file the instant Motion to Vacate.        Obviously, he did not file

his Motion by that date.      Rather, as Petitioner concedes in his

Supplement (document # 3), “[s]ixteen months expired between

[his] January 29, 2007 sentencing and his May 27, 2008 filing for

an extension of time to file a Notice of Appeal.”

     Furthermore, Petitioner properly recognized that his motion

to vacate likely would be construed as time-barred.           Indeed,

Petitioner began his attempt to establish that his delay should

be excused in that May 2008 letter-motion by contending, pursuant

to subsection (4) above, that he has filed his motion to vacate

within one year of his discovery that his attorney had failed to

honor his request for an appeal.        However, this Court’s careful

review of Petitioner’s pleadings reveal that his efforts have

fallen short of establishing an excuse for his delay.

                                    7


  Case 5:05-cr-00032-RLV-CH   Document 175   Filed 03/16/09   Page 7 of 10
     To be sure, it has not escaped the Court’s attention that

although Petitioner claims he repeatedly wrote to and called his

attorney, he conveniently has omitted any reference to the dates

on which he allegedly made those attempts to contact counsel.

Similarly, despite having been given the opportunity to do so,

Petitioner also failed to provide the Court with copies of the

correspondence which he reportedly sent to his attorney.            Such

omissions are highly suspicious inasmuch as Petitioner’s alle-

gations tend to show that he knew or should have known the

importance of this information in his efforts to have the delayed

filing of his Motion to Vacate excused.

     Second, turning back to his pleadings, although Petitioner

asserts that his attorney assured him that he would file an

appeal, he further asserts that his attorney never provided him

with any information regarding an appeal, counsel refused his

calls, and counsel even repeatedly refused to answer his corre-

spondence.   Consequently, Petitioner’s own representations show

that he actually had every reason to question whether counsel was

keeping his promises concerning the appeal.

     That is, Petitioner’s own representations make clear that he

had more than ample reason sooner to take action to inquire with

the Court about the status of an appeal.       The facts which he

alleges tend to establish that it was unreasonable for Petitioner

to wait more than one year to inquire about the status of his


                                   8


  Case 5:05-cr-00032-RLV-CH   Document 175   Filed 03/16/09   Page 8 of 10
appeal.   In sum, Petitioner has failed to establish that he exer-

cised due diligence in discovering the basis for his claim of

ineffective assistance of counsel; therefore, subsection (4)

cannot provide a basis for tolling the one-year limitations

period.

     Moreover, while it is well-settled that courts have the

authority to toll the limitations period on equitable grounds,

Petitioner also has failed to show that he is entitled to

application of those principles.          See Harris v. Hutchinson, 209

F.3d 325, 330 (4th Cir. 2000) (noting that equitable tolling

generally is available only where petitioner was prevented from

asserting claims by wrongful conduct of the government, or where

extraordinary circumstances beyond petitioner’s control made it

impossible to file claims in timely manner.).           See also United

States v. Sosa, 364 F.3d 507, 511-13 (4th Cir. 2004) (discussing

the requirements for equitable tolling); and Rouse v. Lee, 339

F.3d 238, 246-47 (4th Cir. 2003)(en banc)(rejecting argument that

a petitioner’s limitations period could be equitably tolled due

to counsel’s “slight miscalculation” of his filing deadline.).

Therefore, Petitioner’s Motion to Vacate must be summarily dis-

missed as time-barred.

                              III.   CONCLUSION

     The AEDPA requires, among other things, that petitioners

seeking to bring motions to vacate under 28 U.S.C. §2255 do so


                                      9


  Case 5:05-cr-00032-RLV-CH     Document 175   Filed 03/16/09   Page 9 of 10
within the time limitations prescribed by that statute.             Here,

Petitioner has failed to meet that requirement, and he has failed

to establish any basis for excusing his 16-month delay.             Accord-

ingly, Petitioner’s motion to vacate must be dismissed as time-

barred.

                              IV.   ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that the instant Motion

to Vacate is DISMISSED as untimely filed.

     SO ORDERED.



                                         Signed: March 13, 2009




                                    10


  Case 5:05-cr-00032-RLV-CH   Document 175   Filed 03/16/09   Page 10 of 10
